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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION



   PENGUIN RANDOM HOUSE LLC,
   et al.,

                  Plaintiffs,

   v.                                          Case No. 6:24-cv-1573-CEM-RMN

   BEN GIBSON, et al.,

                  Defendants.

        UNITED STATES           Carlos E. Mendoza          COURTROOM:            5B
        DISTRICT JUDGE:
        DEPUTY CLERK:            Ann Lindstrand            COUNSEL FOR
                                                            PLAINTIFF:    Adam Diederich,
                                                                         Frederick Sperling,
                                                                            David Karp

    COURT REPORTER              Suzanne Trimble            COUNSEL FOR
                             trimblecourtreporter@         DEFENDANT:     Jason Muehlhoff,
                                  outlook.com                             Nathan Forrester,
          DATE/TIME:             May 21, 2025                              Sheena Thakrar,
                            9:34 A.M. – 10:45 A.M.                         Howard Marks

         TOTAL TIME:            1 Hour, 11 Minutes

                               CLERK’S MINUTES
                               MOTION HEARING
                Re: Oral Arguments on Motions for Summary Judgment

   Case called. Appearance made by counsel.

   The parties present oral argument to the Court.

   Court is adjourned.
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